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CALL DOCKET
FELDMAN, J.
MARCH 19, 2019
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

                                            ORDER

       A review of the record indicates that no service of the complaint has been made upon the

defendant.

       Rule 4(m) of the Federal Rules of Civil Procedure provides:

       If service of the summons and complaint is not made upon a defendant within 90 days
       after the filing of the complaint, the Court, upon motion or on its own initiative after
       notice to the plaintiff, shall dismiss the action without prejudice as to that defendant or
       direct that service be effected within a specified time; provided that if the plaintiff shows
       good cause for the failure, the Court shall extend time for service for an appropriate
       period.

       Accordingly;

       IT IS ORDERED that on or before April 19, 2019, plaintiff shall file into the record the
return of service of process that has been effected on defendant. Failure to do so will result,
without further notice, in the DISMISSAL of the unserved defendant.


18-6880        JOHN DOE V. LOYOLA UNIVERSITY, ET AL
               (As to Loyola University Board of Trustees)
